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NO CV 30                                                                              ~= i~~u

            1    Peter Strojnilc (Sr.),
                 7847 N. Central Avenue                                      ~~ ~ ~ ~~~ ~ ~ ~ +; ~ ~
            ~a   Phoenix, Arizona 85020
~ rS             Telephone: (602) 524-6602                                                                `''~
                 ps@strojnik.com                                                 ~'    u ~. ~~    ~~ ~~ ~~'
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 ~~~        4                                                                r
                                           UNITED STATES DISTRICT COURT
  1         5
  ~~                                      CENTRAL DISTRICT OF CALIFORNIA
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                                                                   C~seNo:J ~V~~.. fs~p d ~~~~T~'~,
            7

            8     Peter Strojnik (Sr.),                                      COMPLAINT

            9                                         Plaintiff,      1. Americans with Disabilities
                                                                                    Act
           10
                                                                       2. Discrimination in Public
           11                       vs.                                    Accommodations (State
                  SCG America Construction Inc. dba Hyatt                          Law)
           12     Regency Orange County                                      3. Negligence
           13
                                                                      JURY TRIAL REQUESTED
           14                                       Defendant.
           15
                 1. Plaintiff brings this action pursuant to the (1) Americans with Disabilities Act, 42
           16
                    U.S.C. §121 U l et seq. and corresponding regulations, 28 CFR Part 36 and Department
           ]7
                    of Justice Standards for Accessible Design ("ADA"), (2) California Unruh Civil
           18
                    Rights Act, California Civil Code § 51, 52 ("Unruh")(3) the California Disabled
           19
                    Persons Act("DPA")and (4)common law of negligence per se.
           20
                                                        PARTIES
           21
                 2. Plaintiff Peter Strojnik is a veteran and a disabled person as defined by the ADA and
           22       ~ •.
           23
                 3. Plaintiff is a single man cuiYently residing in Maricopa County, Arizona. Plaintiff is
           24
                    and, at all times relevant hereto has been, legally disabled by virtue of a severe right-
           25
                    sided neural foramina)stenosis with symptoms offemoral neuropathy, prostate cancer
           26
                    and renal cancer, degenerative right knee and is therefore a member of a protected
           27
                    class under the ADA and Unruh.
           28                                                       ~~
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    1 ID Plaintiff suffers from physical impairments described above which impairments
   2       substantially limit his major life activities. Plaintiff walks with difficulty and pain

   3       and requires compliant mobility accessible features at places of public

   4       accommodation. Plaintiff's impairment is constant, but the degree of pain is episodic
           ranging from dull and numbing pain to extreme and excruciating agony.
   5
        5. Defendant, owns, operates leases or leases to a lodging business ("Hotel") located at
   6
           11999 Harbor Blvd., Garden Grove, CA 92840 which is a public accommodation
   7
           pursuant to 42 U.S.C. § 12181(7)(A) and Unruh.
   8
                                             JURISDICTION
   9
        6. District Court has jurisdiction over this case or controversy by virtue of 28 U.S.C. §§
   10
           28-1331 and 42 U.S.C. § 12188 and 28 U.S.C. § 1367.
   11
        7. Plaintiff brings this action as a private attorney general who has been personally
  12       subjected to discrimination on the basis of his disability, see 42 U.S.C.12188 and 28
  13       CFR §36.501.
  14    8. This Court has continuing subject matter jurisdiction by virtue of, inter alia,
  15       Plaintiff's claim for equitable nominal damages.
  16    9. Venue is proper pursuant to 28 U.S.C. § 1391.

  17    10.The ADAAG violations in this Verified Complaint relate to barriers to Plaintiffs

  18       mobility. This impairs Plaintiff's full and equal access to the Hotel which, in turn,

  19       constitutes discrimination satisfying the "injury in fact" requirement of Article III of
           the United States Constitution.
  20
        1 1.Plaintiff is deterred from visiting the Hotel based on Plaintiff's knowledge that the
  21
           Hotel is not ADA or State Law compliant as such compliance relates to Plaintiff's
  22
           disability.
  23
        12.Plaintiff intends to visit Defendant's Hotel at a specific time when the Defendant's
  24
           noncompliant Hotel becomes fully compliant with ADAAG; just as a disabled
  25
           individual who intends to return to a noncompliant facility suffers an imminent injury
  26       from the facility's existing or imminently tlueatened noncompliance with the ADA,a
  27       plaintiff who is deterred from patronizing a hotel suffers the ongoing actual injury of
  28       lack of access to the Hotel.
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    1                                        COUNT ONE
                          Violation of Plaintiffs Civil Rights under the ADA
   2
   3    13.Plaintiff realleges all allegations heretofore set forth.

   4    14.By virtue of his disability, Plaintiff requires an ADA compliant lodging facility
           particularly applicable to his mobility, both ambulatory and wheelchair assisted.
   5
        15.Plaintiff intended to visit the Disneyland area and therefore, reviewed hotel booking
   6
           websites as documented in Addendum A which is by this reference incorporated
   7
           herein for all purposes.
   8
        16.Plaintiff became aware that third party booking websites disclosed general availability
   9
           and description of Defendant's Hotel. Third Party booking websites referenced here
  10
           are more fully documented in Addendum A which is by this reference incorporated
  11
           herein.
  12    17. Third party booking websites failed to identify and describe mobility related
  13       accessibility features and guest rooms offered through its reservations service in
  14       enough detail to reasonably permit Plaintiff to assess independently whether
  15       Defendant's Hotel meets his accessibility needs as more fully documented in
  16       Addendum A.

  17    18. Third party booking websites also failed to make reservations for accessible guest

  18       rooms available in the same manner as individuals who do not need accessible rooms.

  19       See Addendum A.
        19. Thereafter, Plaintiff became aware that Defendant's 1St party booking website failed
  20
           to identify and describe mobility related accessibility features and guest rooms offered
  21
           through its reservations service in enough detail to reasonably permit Plaintiff to
  22
           assess independently whether Defendant's Hotel meets his accessibility needs as more
  23
           fully documented. See Addendum A.
  24
        20.Plaintiff also became aware that Defendant's 1 St party booking website failed to make
  25
           reservations for accessible guest rooms available in the same manner as individuals
  26       who do not need accessible rooms. See Addendum A.
  27 21.Plaintiffthereafter visited the Hotel and made observations documented in Addendum
  28


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   1   22.Plaintiff thereafter reviewed Defendant's online information relating to accessibility
   2      or lack thereof, including in particular photographs ofthe amenities at the Hotel all as

   3      more fully documented in Addendum A.

   4   23.Online information relating to accessibility or lack thereof disclosed architectural
          barriers to accessibility as more fully documented in Addendum A.
   5
       24.Defendant has violated the ADA by denying Plaintiff equal access to its public
   6
          accommodation on the basis of his disability as outlined above and as outlined in
   7
          Addendum A.
   8
       25. The ADA violations described in Addendum A relate to Plaintiff's disability and
   9
          interfere with Plaintiff's full and complete enjoyment of the Hotel.
  10
       26.As a result of the deficiencies described above, Plaintiff declined to book a room at
  11
          Defendant's Hotel but booked a room elsewhere.
  12
       27.The removal of accessibility barriers listed above is readily achievable.
  13
       28. As a direct and proximate result of ADA Violations, Defendant's failure to remove
  14
          accessibility barriers prevented Plaintiff from equal access to the Defendant's public
  15
          accommodation.
  16
       WHEREFORE,Plaintiff prays for all relief as follows:
  17
              A. Relief described in 42 U.S.C. §2000a — 3; and
  18
             B. Relief described in 42 U.S.C. § 12188(a) and (b) and, particularly -
  19          C. Injunctive relief order to alter Defendant's place of public accommodation to
  20             make it readily accessible to and usable by ALL individuals with disabilities;
  21             and
  22         D. Requiring the provision of an auxiliary aid or service, modification of a
  23             policy, or provision of alternative methods, to the extent required by

  24             Subchapter III of the ADA; and

  25         E. Equitable nominal damages; and

  26         F. For costs, expenses and attorney's fees; and
             G. All remedies provided for in 28 C.F.R. 36.501(a) and (b).
  27
  28
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   1                                      COUNT TWO
             (Violation of the California Unruh Civil Rights Act, Cal. Civ. Code §§51,52)
   2
   3   29.Plaintiff realleges all allegations heretofore set forth.

   4   30.Plaintiff intended to visit the Disneyland area and spend a night there.

   5   31.Plaintiff became aware that 3rd party booking websites disclosed general availability
          and description of Defendant's Hotel. 3ra Party booking website referenced here is
   6
          more fully discussed in Addendum A which is by this reference incorporated herein.
   7
       32.3id party booking website failed to identify and describe mobility related accessibility
   8
          features and guest rooms offered through its reservations service in enough detail to
   9
          reasonably permit Plaintiff to assess independently whether Defendant's Hotel meets
  10
          his accessibility needs as more fully disclosed in Addendum A.
  11
       33. Third party booking websites also failed to make reservations for accessible guest
  12      rooms available in the same manner as individuals who do not need accessible rooms.
  13      Addendum A.
  14   34.Thereafter, Plaintiff became aware that Defendant's 1St party booking website failed
  15      to identify and describe mobility related accessibility features and guest rooms offered
  16      through its reservations service in enough detail to reasonably permit Plaintiff to
  17      assess independently whether Defendant's Hotel meets his accessibility needs as more

  18      fully disclosed in Addendum A.

  19   35.Plaintiff also became aware that Defendant's 1 S~ party booking website failed to make
          reservations for accessible guest rooms available in the same manner as individuals
  20
          who do not need accessible rooms. Addendum A.
  21
       36.Plaintiffthereafter visited the Hotel and made observations documented in Addendum
  22
  23
       37.Plaintiff subsequently declined to book a room at the Hotel.
  24
       38.Defendant has violated the Unruh by denying Plaintiff equal access to its public
  25
          accommodation on the basis of his disability as outlined above.
  26
       39. Unruh provides for declaratory and monetary reliefto "aggrieved persons" who suffer
  27
          from discrimination on the basis of their disability.
  28


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   1 ~~ 40.Plaintiff has been damaged by the Defendant's non-compliance with Unruh and is
   2      thereby aggrieved.
   3 ~ ~ 41.Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other relief as the
   4      Court considers appropriate, including monetary damages in an amount to be proven
   5      at trial, but in no event less than $4,000.00 per encounter with each barrier to
   6      accessibility.
   7 42.Pursuant to Unruh,Plaintiffis entitled to costs and expenses in an amount to be proven
   8      at trial.
   9      WHEREFORE,Plaintiff demands judgment against Defendant as follows:
  10      a. A Declaratory Judgment that at the commencement of this action Defendant was
  11          in violation of the specific requirements of Unruh; and
  12      b. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
  13          applicable, a permanent injunction pursuant to Unruh which directs Defendant to
  14          take all steps necessary to bring its accommodation into full compliance with the
  15          requirements set forth in the Unruh, and its implementing regulations, so that the
  16          Hotel facilities are fully accessible to, and independently usable by, disabled
  17          individuals, and which further directs that the Court shall retain jurisdiction for a
  18          period to be determined after Defendant certifies that its facilities are fully in
  19          compliance with the relevant requirements of the Unruh to ensure that Defendant
  20          has adopted and is following an institutional policy that will in fact cause
  21          Defendant to remain fully in compliance with the law; and
  22      c. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
  23          applicable, the payment of costs of suit; and
  24      d. Order closure of the Defendant's place of public accommodation until Defendant
  25          has fully complied with the Unruh; and
  26      e. For damages in an amount no less than $4,000.00 per encounter with barrier; and
  27      £ For treble damages pursuant to Cal Civ. Code. §3345.
  28


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    1      g. The provision of whatever other relief the Court deems just, equitable and
   2           appropriate.
    3                                    COUNT THREE
           (Violation of the California Disabled Persons Act, Cal. Civ. Code §§54-54.3)
   4
    5   43.Plaintiff realleges all allegations heretofore set forth.

   6    44.Defendant has violated the DPA by denying Plaintiff equal access to its public

   7       accommodation on the basis of his disability as outlined above.

   8    45.The DPA provides for monetary relief to "aggrieved persons" who suffer from

   9       discrimination on the basis of their disability.

   10   46.Plaintiff has been aggrieved by the Defendant's non-compliance with the DPA.

   11   47.Pursuant to the DPA, Plaintiff is further entitled to such other relief as the Court

   12      considers appropriate, including monetary damages in an amount to be proven at trial,

   13      but in no event less than $1,000.00. Cal. Civ. Code § 54.3.

   14 ~ 48.Pursuant to the DPA, Plaintiff is entitled to costs in an amount to be proven at trial.
  15       Cal. Civ. Code § 54.3.

  16       WHEREFORE,Plaintiff demands judgment against Defendant as follows:

  17       a. A Declaratory Judgment that at the commencement of this action Defendant was

  18           in violation of the specific requirements of Unruh; and

  19       b. Irrespective of Defendants "voluntary cessation" of the ADA violation, if

  20           applicable, a permanent injunction pursuant to Unruh which directs Defendant to

  21           take all steps necessary to bring its facilities into full compliance with the

  22           requirements set forth in the Unruh, and its implementing regulations, so that the

  23           facilities are fully accessible to, and independently usable by, disabled individuals

  24           as required by law, and which further directs that the Court shall retain jurisdiction

  25           for a period to be determined after Defendant certifies that its facilities are fully in

  26           compliance with the relevant requirements of the Unruh to ensure that Defendant

  27           has adopted and is following an institutional policy that will in fact cause

  28           Defendant to remain fully in compliance with the law; and


                                                   7
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    1          c. Irrespective of Defendants "voluntary cessation" of the ADA violation, if
   2               applicable, the payment of costs of suit; and
   3           d. Order closure of the Defendant's place of public accommodation until Defendant
   4               has fully complied with the DPA; and
   5           e. For damages in an amount no less than $1,000.00 per violation per encounter; and
   6           f. For treble damages pursuant to Cal Civ. Code. §3345.
   7           g. The provision of whatever other relief the Court deems just, equitable and
   8               appropriate.
   9                                              COUNT FOUR
                                                   Negligence
   10
   11       49.Plaintiff realleges all allegations heretofore set forth.

  12        50.Defendant had a duty to Plaintiffto remove ADA accessibility barriers so that Plaintiff
               as a disabled individual would have full and equal access to the public
  13
               accommodation.
  14
            51.Defendant breached this duty.
  15
            52.Defendant is or should be aware that, historically, society has tended to isolate and
  16
               segregate individuals with disabilities, and, despite some improvements, such forms
  17
               of discrimination against individuals with disabilities continue to be a serious and
  18
               pervasive social problems.
  19
            53.Defendant knowingly and intentionally participated in this historical discrimination
  20           against Plaintiff, causing Plaintiff damage.
  21        54.Discrimination against individuals with disabilities persists in the use and enjoyment
  22           of critical public accommodations2.
  23        55.Defendant's knowing and intentional persistence in discrimination against Plaintiff is
  24           alleged, causing Plaintiff damage.

  25        56.Individuals with disabilities, including Plaintiff, continually encounter various forms

  26           of discrimination, including outright intentional exclusion, the discriminatory effects

  27
  28 '42 U.S.C. § 12101(a)(2)
        ~
     2 42 U.S.C. §12101(a)(3)

                                                       8
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     1      of architectural, overprotective rules and policies, failure to make modifications to
    2       existing facilities and practices, exclusionary qualification standards and criteria,

    3       segregation, and relegation to lesser services, programs, activities, benefits, jobs, or

    4       other opportunities3.
         57.Defendant's knowing and intentional discrimination against Plaintiffreinforces above
    5
            forms of discrimination, causing Plaintiff damage.
    6
         58.Census data, national polls, and other studies have documented that people with
    7
            disabilities, as a group, occupy an inferior status in our society, and are severely
    8
            disadvantaged socially, vocationally, economically, and educationally4.
    9
         59.Defendant's knowing and intentional discrimination has relegated Plaintiff to an
    10
            inferior status in society, causing Plaintiff damage.
    11
         60.The Nation's proper goals regarding individuals with disabilities are to assure equality
    12      of opportunity, full participation, independent living, and economic self-sufficiency
   13       for such individuals.
   14    61.Defendant's knowing, and intentional discrimination has worked counter to our
   15       Nation's goals of equality, causing Plaintiff damage.
   16    62.Continued existence of unfair and unnecessary discrimination and prejudice denies
   17       people with disabilities the opportunity to compete on an equal basis and to pursue

   18       those opportunities for which our free society is justifiably famous, and costs the

   19       United States billions of dollars in unnecessary expenses resulting from dependency
            and nonproductivity6.
   20
         63. Defendant's knowing and intentional unfair and unnecessary discrimination against
   21
            Plaintiff demonstrates Defendant's knowing and intentional damage to Plaintiff.
   22
         64.Defendant's breach of duty caused Plaintiff damages including, without limitation,
   23
            the feeling of segregation, discrimination, relegation to second class citizen status the
   24
            pain, suffering and emotional damages inherent to discrimination and segregation and
   25
            other damages to be proven at trial.
   26
   27    3 42 u.s.c. §121o1~a~~s~
         4 42 U.S.C. §12101(a)(6)
   28    5 42 U.S.C. §12101(a)(7)
         6 42 U.S.C. §12101(a)(8)
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     1 ~~ 65.By violating Plaintiff's civil rights, Defendant engaged in intentional, aggravated and
    2       outrageous conduct.

    3 66.The ADA has been the law of the land since 1991, but Defendant engaged in a
    4    conscious action of a reprehensible character, that is, Defendant denied Plaintiff his
            civil rights, and cause him damage by virtue ofsegregation, discrimination, relegation
    5
            to second class citizen status the pain, suffering and emotional damages inherent to
    6
            discrimination and segregation and other damages to be proven at trial
    7
         67.Defendant either intended to cause injury to Plaintiff or defendant consciously
    8
            pursued a course of conduct knowing that it created a substantial risk of significant
    9
            harm to Plaintiff.
    10
         68.Defendant is liable to Plaintifffor punitive damages in an amount to be proven at trial
    11
            sufficient, however, to deter this Defendant and others similarly situated from
    12      pursuing similar acts.
    13   WHEREFORE,Plaintiff prays for relief as follows:
    14          A. For finding of negligence; and
    15          B. For damages in an amount to be proven at trial; and
    16          C. For punitive damages to be proven at trial; and

    17         D. For such other and further relief as the Court may deem just and proper.

    18                               REQUEST FOR TRIAL BY JURY

   19          Plaintiff respectfully requests a trial by jury in issues triable by a jury.
   20
               RESPECTFULLY SUBMITTED this                                 S ZO ~~
   21
                                                    PETER STROJNIK
   22
                                                            ~~
   23
                                                    Pl   tiff
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   27
   28


                                                  [[I]
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     1                                                                           ADDENDUM A
    2
                                                                                  HOTELS.
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     1      Identification of Specific Barrier in Plain Language: Booking website does not
            identify and describe accessible features in the hotel and guest rooms in enough detail
    ~~      to reasonably permit Plaintiff to assess independently whether the hotel or guest room
            meets his accessibilit needs.
    3
            The manner in which the barriers denied Plaintiff full and equal use or access, and
    4       which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
            access by failing to identify and describe accessible features in the hotel and guest rooms
    5       in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
            or uest room meets his accessibilit needs.
    6       The dates on each particular occasion on which Plaintiff encountered such barrier
            and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.
    7                                             ~                                                   .~                             ~
    8                 .r ~;: _                                                                                     ,<:
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   17
           Identification of Specific Barrier in Plain Language: Booking website does not
   18      identify and describe accessible features in the hotel and guest rooms in enough detail
           to reasonably permit Plaintiff to assess independently whether the hotel or guest room
   19      meets his accessibility needs. Inadequate dispersion of accessible rooms among various
           Cate ories of rooms.
   20      The manner in which the barriers denied Plaintiff full and equal use or access,and
           which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
   21
           access by failing to identify and describe accessible features in the hotel and guest rooms
   22      in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
           or uest room meets his accessibilit needs.
   23      The dates on each particular occasion on which Plaintiff encountered such barrier
           and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.
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    7      identify and describe accessible features in the hotel and guest rooms in enough detail
           to reasonably permit Plaintiff to assess independently whether the hotel or guest room
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           meets his accessibilit needs.
    9      The manner in which the barriers denied Plaintiff full and equal use or access,and
           which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
    10     access by failing to identify and describe accessible features in the hotel and guest rooms
           in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
    11     or uest room meets his accessibilit needs.
           The dates on each particular occasion on which Plaintiff encountered such barrier
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           and which deter Plaintifffrom visitin Hotel: On or about March 14-15, 2019.
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    12     Identification of Specific Barrier in Plain Language: Booking website does not
           identify and describe accessible features in the hotel and guest rooms in enough detail
    13     to reasonably permit Plaintiff to assess independently whether the hotel or guest room
    14     meets his accessibility needs. Inadequate dispersion of accessible rooms among various
           cate ories or rooms — no accessible suites.
    15     The manner in which the barriers denied Plaintiff full and equal use or access, and
           which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
    16     access by failing to identify and describe accessible features in the hotel and guest rooms
           in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
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           or uest room meets his accessibilit needs.
   18      The dates on each particular occasion on which Plaintiff encountered such barrier
           and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.
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   17      Identification of Specific Barrier in Plain Language: Accessible parking not closest ',
   18      to entrance.
           The manner in which the barriers denied Plaintiff full and equal use or access, and
   19      which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
           access by failing to identify and describe accessible features in the hotel and guest rooms
   20      in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
           or uest room meets his accessibilit needs.
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           The dates on each particular occasion on which Plaintiff encountered such barrier
   22      and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.

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           Identification of S ecific Barrier in Plain Lan ua e: Inaccessible valet counter.
   19      The manner in which the barriers denied Plaintiff full and equal use or access, and
           which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
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           access by failing to identify and describe accessible features in the hotel and guest rooms
   21      in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
           or uest room meets his accessibilit needs.
   22      The dates on each particular occasion on which Plaintiff encountered such barrier
           and which deter Plaintifffrom visiting Hotel: On or about March 14-15, 2019.
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           Identification of S ecific Barrier in Plain Lan ua e: Inaccessible concier e counter.
   14      The manner in which the barriers denied Plaintiff full and equal use or access, and
   15      which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
           access by failing to identify and describe accessible features in the hotel and guest rooms
   16      in enough detail to reasonably permit Plaintiff to assess independently whether the hotel
           or uest room meets his accessibilit needs.
   17      The dates on each particular occasion on which Plaintiff encountered such barrier
           and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.
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   20      Identification of S ecific Barrier in Plain Lan ua e: Inaccessible seatin in lobb .
           The manner in which the barriers denied Plaintiff full and equal use or access, and
   21      which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
           access by failing to identify and describe accessible features in the hotel and guest rooms
   22      in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
   23      or uest room meets his accessibilit needs.
           The dates on each particular occasion on which Plaintiff encountered such barrier
   24      and which deter Plaintifffrom visitin Hotel: On or about March 14-15, 2019.

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    16     Identification of Specific Barrier in Plain Language: Inaccessible seating in Citrus
    17     Grove Deli.
           The manner in which the barriers denied Plaintiff full and equal use or access, and
   18      which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
           access by failing to identify and describe accessible features in the hotel and guest rooms
   19      in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
           or uest room meets his accessibilit needs.
   20
           The dates on each particular occasion on which Plaintiff encountered such barrier
   21      and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.

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           Identification of Specific Barrier in Plain Language: Inaccessible counter in Citrus
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           Grove Deli.
   20      The manner in which the barriers denied Plaintiff full and equal use or access, and
           which deter Plaintiff from visiting the Hotel: Barrier denied Plaintiff full and equal
   21      access by failing to identify and describe accessible features in the hotel and guest rooms
           in enough detail to reasonably permit Plaintiffto assess independently whether the hotel
   22      or uest room meets his accessibilit needs.
   23      The dates on each particular occasion on which Plaintiff encountered such barrier
           and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.
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           Identification of SpeciFc Barrier in Plain Language: Inaccessible isles and items in
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   22      The manner in which the barriers denied Plaintiff full and equal use or access, and
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   24      or uest room meets his accessibilit needs.
           The dates on each particular occasion on which Plaintiff encountered such barrier
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           and which deter Plaintiff from visitin Hotel: On or about March 14-15, 2019.
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